Case 1:16-cr-00469-ELH Document1 Filed 09/08/16 Page 1 of 1 . =

XB, 91 (Rev. $1/!1) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

District of Maryland

United States of America
Vv.

Case No. 16 “23 6 3 JMC

MARTIN ROBERT HALL

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Defendant(s)

CRIMINAL COMPLAINT

1, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of July 25, 2016 - September 7, 2016 _ in the county of Baltimore in the
District of Maryland , the defendant(s) violated:

Code Section Offense Description

18 U.S.C. §§ 2252(a) and Transportation and Possession of Child Pornography
2252A(a)(5)8)

This criminal complaint is based on these facts: ost 5: oe CRM

See Affidavit of Special Agent Christine D. Carlson which is attached hereto and Pas in uated herein by reference.
Bw

Continued on the attached sheet. (MQ

Complainant's signature

Christine D. Carlson, Special Agent, \CE-HS]

“" Printed name andJitle

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Sworn to before me and signed in my presence. oo meas . hyp
Date: dbl G mone Lid
/ ‘ a Judge's signature
City and state: Baltimore, Maryland _ . 2 Joven Coulson, United States Magistrate Judge

. / Printed name and title
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